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                                        UNITED STATES BANKRUPTCY COURT
                                         NORTHERN DISTRICT OF GEORGIA
                                               GAINESVILLE DIVISION


    In re: HAMBY, NANCY GODWIN                                 §    Case No. 16-20092-JRS
                                                               §
                                                               §
                                                               §
                                Debtor(s)


                                            TRUSTEE'S FINAL REPORT (TFR)

           The undersigned trustee hereby makes this Final Report and states as follows:

          1. A petition under Chapter 7 of the United States Bankruptcy Code was filed on 01/15/2016. The
    undersigned trustee was appointed on 03/26/2018.
           2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.

           3. All scheduled and known assets of the estate have been reduced to cash, released to the debtor as
    exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned pursuant to 11 U.S.C. § 554.
    An individual estate property record and report showing the disposition of all property of the estate is attached
    as Exhibit A.

           4. The trustee realized the gross receipts of               $          39,807.59
                            Funds were disbursed in the following amounts:

                            Payments made under an
                             interim distribution                                        0.00
                            Administrative expenses                                      0.00
                            Bank service fees                                          210.67
                            Other payments to creditors                                 0.00
                            Non-estate funds paid to 3rd Parties                        0.00
                            Exemptions paid to the debtor                          20,747.00
                            Other payments to the debtor                                 0.00
                            Leaving a balance on hand of1              $           18,849.92
    The remaining funds are available for distribution.

   1The  balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to
   disbursement will be distributed pro rata to creditors within each priority category. The trustee may receive additional
   compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on account of the disbursement
   of the additional interest.




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           5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank account.

           6. The deadline for filing non-governmental claims in this case was 07/23/2018 and the deadline for filing
    governmental claims was 07/22/2018. All claims of each class which will receive a distribution have been
    examined and any objections to the allowance of claims have been resolved. If applicable, a claims analysis,
    explaining why payment on any claim is not being made, is attached as Exhibit C.


           7. The Trustee's proposed distribution is attached as Exhibit D.
           8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is $2,656.06. To
    the extent that additional interest is earned before case closing, the maximum compensation may increase.


            The trustee has received $0.00 as interim compensation and now requests the sum of $2,656.06, for a
    total compensation of $2,656.062. In addition, the trustee received reimbursement for reasonable and necessary
    expenses in the amount of $0.00 and now requests reimbursement for expenses of $145.41 for total expenses
    of $145.412.

          Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the foregoing report is true
    and correct.




    Date: 12/21/2018                                     By: /s/ Albert Nasuti
                                                                         Trustee , Bar No.: 535209




    STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
    Act exemption 5 C.F.R. §1320.4(a)(2) applies.




          2If the estate is administratively insolvent, the dollar amounts reflected in this paragraph may be higher than the

    amounts listed in the Trustee's Proposed Distribution (Exhibit D)



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                                                           Form 1
                                                                                                                                                       Exhibit A
                                       Individual Estate Property Record and Report                                                                    Page: 1

                                                        Asset Cases
Case No.:    16-20092-JRS                                                                  Trustee Name:      (300052) Albert Nasuti
Case Name:        HAMBY, NANCY GODWIN                                                      Date Filed (f) or Converted (c): 01/15/2016 (f)
                                                                                           § 341(a) Meeting Date:       02/22/2016
For Period Ending:       12/21/2018                                                        Claims Bar Date:      07/23/2018

                                   1                                 2                    3                      4                    5                    6

                           Asset Description                      Petition/       Estimated Net Value     Property Formally     Sale/Funds            Asset Fully
                (Scheduled And Unscheduled (u) Property)        Unscheduled      (Value Determined By        Abandoned        Received by the      Administered (FA)/
                                                                   Values               Trustee,             OA=§554(a)           Estate            Gross Value of
                                                                                Less Liens, Exemptions,       abandon.                             Remaining Assets
  Ref. #                                                                           and Other Costs)

   1*       1804 Gray Gables Way Buford GA,                       105,000.00                  19,060.59                              39,807.59                          FA
            30519-7133 (See Footnote)

    2       Lexus RX 330 2004 214000 AB-3.1                              0.00                      0.00                                    0.00                         FA

    3       living room furniture; dining room                           0.00                      0.00                                    0.00                         FA
            furniture; patio furniture; misc kitchen
            goods and appliances; misc dry goods;
            washer/dryer; 4 sets bedroom furniture;
            kitchen table and chairs AB-6.1

    4       computer system; cell phone; 3 TVs; 2                        0.00                      0.00                                    0.00                         FA
            DVD players AB-7.1

    5       personal clothing AB-11.1                                    0.00                      0.00                                    0.00                         FA

    6       wedding ring; watch; bracelet, necklace;                     0.00                      0.00                                    0.00                         FA
            earrings, misc costume jewelry AB-12.1

    7       Cash on debtor's person AB-16.1                              0.00                      0.00                                    0.00                         FA

    8       Wells Fargo Bank AB-17.1                                     0.00                      0.00                                    0.00                         FA

    9       Wells Fargo Bank AB-17.2                                     0.00                      0.00                                    0.00                         FA

   10       Wells Fargo Bank AB-17.2                                     0.00                      0.00                                    0.00                         FA

   11       T. Rowe Price- Traditional; IRA account                      0.00                      0.00                                    0.00                         FA
            AB-18.1

   12       T. Rowe Price KDA Retirement Plan                            0.00                      0.00                                    0.00                         FA
            401(k) AB-18.2

   12       Assets Totals (Excluding unknown values)             $105,000.00               $19,060.59                             $39,807.59                       $0.00


        RE PROP# 1           Value represents Debtor's 1/2 interest in the property, total value $210,000




 Major Activities Affecting Case Closing:




 Initial Projected Date Of Final Report (TFR): 09/28/2018                       Current Projected Date Of Final Report (TFR):             11/01/2018




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                                                               Form 2                                                                                     Exhibit B
                                                                                                                                                          Page: 1
                                               Cash Receipts And Disbursements Record
Case No.:                 16-20092-JRS                                       Trustee Name:                      Albert Nasuti (300052)
Case Name:                HAMBY, NANCY GODWIN                                Bank Name:                         Rabobank, N.A.
Taxpayer ID #:            **-***0746                                         Account #:                         ******4400 Checking
For Period Ending: 12/21/2018                                                Blanket Bond (per case limit): $30,390,000.00
                                                                             Separate Bond (if applicable): N/A
    1             2                        3                                        4                                5                      6                       7

  Trans.       Check or      Paid To / Received From             Description of Transaction         Uniform       Deposit             Disbursement         Account Balance
   Date         Ref. #                                                                             Tran. Code       $                       $

 06/22/18        {1}      Aldridge Pite, LLP                  Excess proceeds from foreclosure     1110-000          39,807.59                                          39,807.59
                                                              sale of real property by first
                                                              mortgage holder (1/2 proceeds
                                                              split between bankruptcy estate of
                                                              Nancy Hamby and co-owner,
                                                              David Hamby's bankruptcy estate)

 06/29/18                 Rabobank, N.A.                      Bank and Technology Services         2600-000                                      13.35                  39,794.24
                                                              Fees

 07/31/18                 Rabobank, N.A.                      Bank and Technology Services         2600-000                                      61.05                  39,733.19
                                                              Fees

 08/31/18                 Rabobank, N.A.                      Bank and Technology Services         2600-000                                      59.05                  39,674.14
                                                              Fees

 09/28/18                 Rabobank, N.A.                      Bank and Technology Services         2600-000                                      30.43                  39,643.71
                                                              Fees

 10/17/18        101      NANCY GODWIN HAMBY                  Payment of Debtor's exemption as     8100-002                                 20,747.00                   18,896.71
                                                              approved per Order of 10/15/18
                                                              (Docket No. 33)

 10/31/18                 Rabobank, N.A.                      Bank and Technology Services         2600-000                                      31.29                  18,865.42
                                                              Fees

 11/30/18                 Rabobank, N.A.                      Bank and Technology Services         2600-000                                      15.50                  18,849.92
                                                              Fees

                                               COLUMN TOTALS                                                         39,807.59               20,957.67                  $18,849.92
                                                     Less: Bank Transfers/CDs                                               0.00                   0.00
                                               Subtotal                                                              39,807.59               20,957.67
        true
                                                     Less: Payments to Debtors                                                               20,747.00

                                               NET Receipts / Disbursements                                         $39,807.59                  $210.67


                                                                                                                                                            false




{ } Asset Reference(s)        UST Form 101-7-TFR (5/1/2011)                                                                        ! - transaction has not been cleared
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                                                       Form 2                                                              Exhibit B
                                                                                                                           Page: 2
                                       Cash Receipts And Disbursements Record
Case No.:           16-20092-JRS                            Trustee Name:                  Albert Nasuti (300052)
Case Name:          HAMBY, NANCY GODWIN                     Bank Name:                     Rabobank, N.A.
Taxpayer ID #:      **-***0746                              Account #:                     ******4400 Checking
For Period Ending: 12/21/2018                               Blanket Bond (per case limit): $30,390,000.00
                                                            Separate Bond (if applicable): N/A

                                       Net Receipts:         $39,807.59
                           Plus Gross Adjustments:                 $0.00
                         Less Payments to Debtor:            $20,747.00
                 Less Other Noncompensable Items:                  $0.00

                                         Net Estate:         $19,060.59




                                                                                               NET                    ACCOUNT
                                 TOTAL - ALL ACCOUNTS                    NET DEPOSITS     DISBURSEMENTS               BALANCES
                                 ******4400 Checking                           $39,807.59          $210.67                $18,849.92

                                                                              $39,807.59                    $210.67        $18,849.92




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                                                                                    Exhibit C
                                                                   Claims Proposed Distribution Register
                                                                   Case: 16-20092-JRS HAMBY, NANCY GODWIN



  Case Balance:         $18,849.92                          Total Proposed Payment:           $18,849.92               Remaining Balance:     $0.00



                                                                                   Amount         Amount       Paid          Claim      Proposed          Remaining
      Claim #       Claimant Name                       Type                        Filed         Allowed    to Date        Balance     Payment             Funds

                     Thompson, O'Brien,              Admin Ch. 7                    $52.53          $52.53     $0.00          $52.53          $52.53      $18,797.39
                     Kemp & Nasuti, PC

                     <3120-00 Attorney for Trustee Expenses (Trustee Firm)>

                     Albert Nasuti                   Admin Ch. 7                  $2,656.06      $2,656.06     $0.00       $2,656.06        $2,656.06     $16,141.33

                     <2100-00 Trustee Compensation>

                     Albert Nasuti                   Admin Ch. 7                   $145.41         $145.41     $0.00         $145.41         $145.41      $15,995.92

                     <2200-00 Trustee Expenses>

                     Stonebridge Accounting &        Admin Ch. 7                    $42.65          $42.65     $0.00          $42.65          $42.65      $15,953.27
                     Forensics, LLC

                     <3420-00 Accountant for Trustee Expenses (Other Firm)>

                     Stonebridge Accounting &        Admin Ch. 7                   $892.50         $892.50     $0.00         $892.50         $892.50      $15,060.77
                     Forensics, LLC

                     <3410-00 Accountant for Trustee Fees (Other Firm)>

                     Thompson, O'Brien,              Admin Ch. 7                  $5,961.50      $5,961.50     $0.00       $5,961.50        $5,961.50      $9,099.27
                     Kemp & Nasuti, PC

                     <3110-00 Attorney for Trustee Fees (Trustee Firm)>

           1         Republic Finance LLC            Unsecured                    $1,869.45      $1,869.45     $0.00       $1,869.45         $156.56       $8,942.71

           2         Discover Bank Discover          Unsecured                     $936.87         $936.87     $0.00         $936.87          $78.46       $8,864.25
                     Bank Discover Products
                     Inc

           3         Discover Bank Discover          Unsecured                    $2,864.49      $2,864.49     $0.00       $2,864.49         $239.90       $8,624.35
                     Bank Discover Products
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                                                                                 Exhibit C
                                                                  Claims Proposed Distribution Register
                                                                  Case: 16-20092-JRS HAMBY, NANCY GODWIN



  Case Balance:            $18,849.92                       Total Proposed Payment:        $18,849.92                Remaining Balance:     $0.00



                                                                                Amount         Amount        Paid          Claim      Proposed          Remaining
      Claim #       Claimant Name                       Type                     Filed         Allowed     to Date        Balance     Payment             Funds

                     Inc

           4         Wells Fargo Bank, N.A.           Unsecured               $10,465.76     $10,465.76      $0.00      $10,465.76         $876.50       $7,747.85
                     Wells Fargo Card
                     Services

           5         Capital One, N.A. Becket         Unsecured                 $706.28         $706.28      $0.00         $706.28          $59.15       $7,688.70
                     and Lee LLP

           6         Bank of America, N.A.            Unsecured               $18,762.68     $18,762.68      $0.00      $18,762.68        $1,571.35      $6,117.35

           7         Bank of America, N.A.            Unsecured               $11,919.74     $11,919.74      $0.00      $11,919.74         $998.27       $5,119.08

           8         Department of Education-         Unsecured               $61,124.08     $61,124.08      $0.00      $61,124.08        $5,119.08             $0.00
                     Nelnet

                                   Total for Case:   16-20092-JRS            $118,400.00    $118,400.00      $0.00     $118,400.00    $18,849.92
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                                      TRUSTEE'S PROPOSED DISTRIBUTION
                                                                                                              Exhibit D


    Case No.: 16-20092-JRS
    Case Name: NANCY GODWIN HAMBY
    Trustee Name: Albert Nasuti

                                                     Balance on hand:       $                              18,849.92

           Claims of secured creditors will be paid as follows:

  Claim      Claimant                                         Claim       Allowed            Interim          Proposed
  No.                                                      Asserted       Amount           Payments            Payment
                                                                          of Claim           to Date


                                                         None


                                                  Total to be paid to secured creditors:       $                   0.00
                                                  Remaining balance:                           $              18,849.92

           Applications for chapter 7 fees and administrative expenses have been filed as follows:

  Reason/Applicant                                                          Total            Interim          Proposed
                                                                        Requested          Payments            Payment
                                                                                             to Date

  Trustee, Fees - Albert Nasuti                                            2,656.06                0.00        2,656.06
  Trustee, Expenses - Albert Nasuti                                          145.41                0.00          145.41
  Attorney for Trustee Fees - Thompson, O'Brien, Kemp & Nasuti, PC         5,961.50                0.00        5,961.50
  Attorney for Trustee, Expenses - Thompson, O'Brien, Kemp &                    52.53              0.00           52.53
  Nasuti, PC
  Accountant for Trustee Fees (Other Firm) - Stonebridge Accounting          892.50                0.00          892.50
  & Forensics, LLC
  Accountant for Trustee Expenses (Other Firm) - Stonebridge                    42.65              0.00           42.65
  Accounting & Forensics, LLC
                        Total to be paid for chapter 7 administrative expenses:                $               9,750.65
                        Remaining balance:                                                     $               9,099.27

           Applications for prior chapter fees and administrative expenses have been filed as follows:

  Reason/Applicant                                                    Total             Interim           Proposed
                                                                      Requested         Payments          Payment

                                                         None


                      Total to be paid for prior chapter administrative expenses:              $                   0.00
                      Remaining balance:                                                       $               9,099.27




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              In addition to the expenses of administration listed above as may be allowed by the Court,
      priority claims totaling $0.00 must be paid in advance of any dividend to general (unsecured) creditors.

             Allowed priority claims are:
  Claim       Claimant                               Allowed Amount         Interim Payments               Proposed
  No.                                                       of Claim                  to Date               Payment

                                                          None


                                                      Total to be paid for priority claims:      $              0.00
                                                      Remaining balance:                         $          9,099.27

             The actual distribution to wage claimants included above, if any, will be the proposed payment
      less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).
             Timely claims of general (unsecured) creditors totaling $108,649.35 have been allowed and will
      be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
      timely allowed general (unsecured) dividend is anticipated to be 8.4 percent, plus interest (if
      applicable).
             Timely allowed general (unsecured) claims are as follows:
  Claim       Claimant                               Allowed Amount         Interim Payments               Proposed
  No.                                                       of Claim                  to Date               Payment

  1           Republic Finance LLC                           1,869.45                     0.00                156.56
  2           Discover Bank Discover Bank                        936.87                   0.00                 78.46
              Discover Products Inc
  3           Discover Bank Discover Bank                    2,864.49                     0.00                239.90
              Discover Products Inc
  4           Wells Fargo Bank, N.A. Wells                  10,465.76                     0.00                876.50
              Fargo Card Services
  5           Capital One, N.A. Becket and Lee                   706.28                   0.00                 59.15
              LLP
  6           Bank of America, N.A.                         18,762.68                     0.00              1,571.35
  7           Bank of America, N.A.                         11,919.74                     0.00                998.27
  8           Department of Education-Nelnet                61,124.08                     0.00              5,119.08
                          Total to be paid for timely general unsecured claims:                  $          9,099.27
                          Remaining balance:                                                     $              0.00

             Tardily filed claims of general (unsecured) creditors totaling $0.00 have been allowed and will be
      paid pro rata only after all allowed administrative, priority and timely filed general (unsecured) claims
      have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent, plus interest (if
      applicable).
             Tardily filed general (unsecured) claims are as follows:
  Claim       Claimant                               Allowed Amount         Interim Payments               Proposed
  No.                                                       of Claim                  to Date               Payment

                                                          None




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                       Total to be paid for tardily filed general unsecured claims:         $                  0.00
                       Remaining balance:                                                   $                  0.00

          Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
    subordinated by the Court totaling $0.00 have been allowed and will be paid pro rata only after all
    allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
    subordinated unsecured claims is anticipated to be 0.0 percent, plus interest (if applicable).
          Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
    subordinated by the Court are as follows:
  Claim     Claimant                             Allowed Amount         Interim Payments              Proposed
  No.                                                   of Claim                  to Date              Payment

                                                      None


                                                Total to be paid for subordinated claims: $                    0.00
                                                Remaining balance:                        $                    0.00




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